Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 1 of 26                     PageID #: 1318




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

    CHRISTOPHER O. BRANDT,                        )
                                                  )
                        Plaintiff,                )
                                                  )
    v.                                            ) Docket No. 1:15-cv-461-NT
                                                  )
    JOSEPH FITZPATRICK, in his                    )
    official capacity as COMMISSIONER,            )
    MAINE DEPARTMENT OF                           )
    CORRECTIONS; SCOTT LANDRY;                    )
    and LISA NASH,                                )
                                                  )
                        Defendants.               )


         ORDER ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          Before me is the motion for summary judgment of Defendants Joseph

Fitzpatrick 1 and Scott Landry (the “State Defendants”) (ECF No. 88). For the

reasons that follow, the State Defendants’ motion for summary judgment is

GRANTED.


                                FACTUAL BACKGROUND 2

I.        The Parties

          Plaintiff Christopher O. Brandt, an African American man and a veteran, was

employed as a correctional officer at the Maine Correctional Center (“MCC”) from

November 26, 2012, through January 8, 2014. CSMF ¶ 19. While he was employed at


1      The Plaintiff has named Fitzpatrick as a defendant in his official capacity as Commissioner of
the Maine Department of Corrections (“MDOC”).
2       The following facts are drawn from the parties’ Consolidated Statement of Material Facts
(“CSMF”) (ECF No. 100), and from materials in the record, taken in the light most favorable to the
Plaintiff.
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 2 of 26         PageID #: 1319




the MCC, Brandt applied repeatedly for positions as a probation officer or probation

officer assistant with the Maine Department of Corrections (“MDOC”). Each of his

applications was unsuccessful. During that same period, the MDOC employed no

black probation officers and the only other black applicant for a probation position

also was not hired. CSMF ¶¶ 160-161.

      Defendant Joseph Fitzpatrick is the Commissioner of the MDOC, which

administers the MCC and Maine’s other correctional facilities and programs. CSMF

¶ 1. Defendant Scott Landry has been Warden of the MCC since July 2013, and before

that he was Regional Correctional Administrator for Region 2 of the MDOC. CSMF

¶ 2. Defendant Lisa Nash was Regional Correctional Administrator for Region 1 of

the MDOC for approximately 10 years, ending in 2016. CSMF ¶ 3. As Regional

Correctional Administrators, Landry and Nash served from time to time as part of a

panel of interviewers for open probation officer and probation officer assistant

positions for the MDOC. CSMF ¶ 4. As Warden of the MCC, Landry has hiring

authority for positions at that facility. See CSMF ¶ 135.

II.   Brandt’s Early Probation Applications

      Between late 2012 and March of 2013, Brandt applied for five open probation

officer and probation officer assistant positions within the MDOC. CSMF ¶¶ 20-21.

During this timeframe, the MDOC granted interviews to internal applicants like

Brandt so long as they met the position’s minimum qualifications. CSMF ¶ 27. Brandt

received an interview following each of his applications, but he was not hired to fill

any of the openings.



                                          2
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 3 of 26        PageID #: 1320




       As one example, in late 2012 the MDOC conducted a hiring process to fill two

probation officer vacancies. CSMF ¶¶ 40-41. The MDOC selected Brandt and 24 other

applicants for interviews, during which all applicants were asked the same set of

questions. CSMF ¶ 42. Landry was one of three panelists who interviewed Brandt.

CSMF ¶ 45.

       The panel observed that Brandt had great potential and did well in his

interview. CSMF ¶ 51. However, the panel also expressed concern about the fact that

Brandt had referred to himself as a rigid, “black and white” thinker, a quality that

the panel thought would impede the creative thinking often necessary to perform the

job of a probation officer. CSMF ¶¶ 51, 173. The panel also noted that because of his

lack of experience, Brandt would need very close supervision and support at the

beginning of the job. CSMF ¶ 51. The MDOC ultimately hired one candidate who had

experience as a federal probation officer and another candidate who was already

employed by the MDOC as a probation officer assistant. CSMF ¶¶ 47, 49. The MDOC

also rejected Brandt’s applications for two Portland-based probation officer openings

announced on December 4, 2012, and January 8, 2013, and for a probation officer

assistant position that he interviewed for on March 27, 2013. CSMF ¶¶ 53-55, 63, 67,

76; Ex. 34 at 1 (ECF No. 83-3).

III.   Brandt’s Letter Complaint to the MDOC

       On April 12, 2013, Brandt wrote a letter to Joseph Ponte, then the

Commissioner of the MDOC, to express concerns about the MDOC’s hiring process.

CSMF ¶ 77. Brandt stated that he was “a Black male with over 15 years’ experience

in Federal law enforcement” and that “the purpose of this letter is to make you aware
                                         3
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 4 of 26                    PageID #: 1321




that there are individual [sic] within the Maine Department of Corrections who has

[sic] 3 not adhered to the high diversity standards that you have set.” CSMF ¶ 154;

Ex. 25 (ECF No. 78-5). While neither Nash nor Landry saw the letter until 2017,

CSMF ¶ 79, Landry admits that he learned through some source that Brandt had

written the letter. Landry Dep. 17 (ECF No. 83-1). 4 Nash and Landry both

participated in a conference call with Commissioner Ponte that was set up to discuss

Brandt’s concerns. CSMF ¶ 81. Landry avers that the call addressed whether the

probation interview panels were giving fair consideration to correctional employees

who applied for probation positions, and that neither racial discrimination nor

Brandt’s identity was mentioned. CSMF ¶ 82; Landry Dep. 17.

IV.    August 2013 Probation Officer Recruitment

       On August 16, 2013, the MDOC announced two vacancies for Portland-based

probation officers. CSMF ¶ 84. Brandt interviewed for the positions on September 17,

2013. Ex. 48 at 1 (ECF No. 83-11). Nash served on Brandt’s interview panel. CSMF

¶ 85. Landry, who by this time had taken his current position as Warden of the Maine

Correctional Center, did not take part in the hiring process. CSMF ¶ 83.

       Shortly before it announced the August 2013 vacancies, the MDOC changed

its hiring process for probation officer positions. CSMF ¶ 86. In addition to meeting

the minimum requirements for the position, applicants now had to pass an ergometric


3       Brandt’s letter to Commissioner Ponte could be read to relate a claim either against one
individual or against multiple individuals. I have considered both possibilities in reaching the
conclusions that follow.
4     Nash did not learn that Brandt was the letter’s author until 2017. CSMF ¶ 79; Nash Decl. ¶ 26
(ECF No. 85).


                                                4
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 5 of 26         PageID #: 1322




test designed to assess whether they were a good fit for the job before they could

secure an interview. CSMF ¶¶ 88-90. At the interview phase, the MDOC now

required panelists to score applicants on a rubric. CSMF ¶ 86. Interviewers asked

applicants a set list of questions and then assigned the applicants a score of 0-4 in

each of five categories: Commitment and job knowledge, judgment and logic, decision-

making and decisiveness, communication skills, and ethics and integrity. CSMF ¶¶

87, 95.

      The panel did not recommend Brandt for either position. In their hiring

justification, the interviewers zeroed in on Brandt’s lack of client-focused case

management or assessment experience, both of which the MDOC considers to be

necessary competencies for probation officers. CSMF ¶¶ 15, 94; Ex. 53 at 4 (ECF No.

83-15). All three of Brandt’s panelists ranked him at least four points lower than the

successful applicant on a 20-point scale, and the successful applicant had 10 years of

client-focused case management experience. CSMF ¶¶ 74, 93. For his part, Brandt

recalls the interview as being “hostile,” noting that the panelists did not shake his

hand when he walked in until he extended his own, that they interrupted him several

times, and that their body language suggested they were wondering why he kept

applying. CSMF ¶ 96.

V.    Brandt’s Charge to the Maine Human Rights Commission

      On November 20, 2013, Brandt submitted a complaint to the Maine Human

Rights Commission (“MHRC”) charging age- and race-based discrimination related

to the MDOC’s hiring practices. CSMF ¶ 135; Ex. 15 at 534 (ECF No. 77-5). The

MDOC’s human resources manager, Rhonda Hutchinson-Peaselee, assisted in
                                          5
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 6 of 26         PageID #: 1323




reviewing and gathering documents and responding to Brandt’s charge. CSMF ¶ 137.

Hutchinson-Peaselee avers that Landry was not involved in responding to the charge

and that she, and not Landry, provided the MHRC with any documents related to

him. CSMF ¶¶ 137-139. Neither Landry nor Nash were informed of the MHRC charge

until April of 2014. CSMF ¶ 138.

VI.    December 2013 Probation Officer Assistant Recruitment

       The MDOC posted a vacancy for a probation officer assistant on December 5,

2013. CSMF ¶ 99-100. Brandt applied, and Nash was again among his interview

panelists. CSMF ¶ 101.

       As before, Brandt was passed over for the position in favor of a candidate with

client-focused case management experience who received higher interview scores

than Brandt from all three panelists. CSMF ¶¶ 103-106. The panel also noted the

Brandt did not appear to be clear on the MDOC’s mission or about the roles and

responsibilities of the position for which he was applying. CSMF ¶ 101.

VII.   Brandt’s Resignation from the MDOC and Applications for Rehire

       On January 8, 2014, Brandt resigned from his position at the MDOC. CSMF

¶ 110. Brandt informed his supervisors that he was going to pursue a job opportunity

with the Federal Bureau of Prisons (“BOP”). CSMF ¶ 112. As a tenured employee of

the federal government, Brandt had reason to believe that he would be hired for a job

opening with the BOP’s Berlin, New Hampshire facility (“BOP Berlin”). CSMF

¶¶ 114, 116. The BOP offered Brandt the position over the phone in December of

2013, and he was scheduled to begin working at BOP Berlin on February 18, 2014.

CSMF ¶¶ 117-119. However, at some point prior to February of 2014, BOP Berlin

                                          6
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 7 of 26          PageID #: 1324




informed Brandt that he would not be able to start work because of a hiring freeze.

CSMF ¶ 120.

         His application to BOP Berlin now up in the air, Brandt began to apply for

openings at the MDOC. Between January and April of 2014, Brandt applied for four

positions: (1) correctional unit manager at the MCC in January 2014, (2) corrections

officer at the MCC (his old job) in February 2014, (3) correctional care and treatment

worker in March 2014, and (4) juvenile program specialist at Long Creek Youth

Development Center in March 2014. CSMF ¶ 153.

         Brandt interviewed for the MCC unit manager position on February 3, 2014.

CSMF ¶ 180. Gary LaPlante, Landry’s deputy, was on Brandt’s interview panel.

CSMF ¶ 181. After the interview, LaPlante followed Brandt into the hallway and

asked about the BOP position, at which point Brandt told LaPlante that he

understood there was a hold-up because of a hiring freeze. CSMF ¶ 181.

         On or before February 23, 2014, Brandt contacted the MDOC about the

possibility of reinstatement to his job as a corrections officer. CSMF ¶ 123; Ex. 64 at

828 (ECF No. 82-2). The MDOC told Brandt that he could apply for reinstatement

without being required to take the ergometric test usually used for new hires. CSMF

¶ 124.

         Landry and LaPlante were concerned about Brandt’s future employment plans

and whether, if rehired, he intended to stay at MCC. CSMF ¶ 125. Landry asked

Valerie Norman, a unit manager with the MCC, to conduct an informal interview of

Brandt to determine if rehire was appropriate. CSMF ¶ 126. During that interview,



                                          7
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 8 of 26           PageID #: 1325




on March 11, 2014, Brandt told Norman that the BOP job “fell through due to a hiring

freeze.” CSMF ¶ 128. Norman passed this information on to Landry and LaPlante.

CSMF ¶ 129.

      Based on his contacts in the correctional field, LaPlante believed that BOP

Berlin was not subject to a hiring freeze, and so he doubted Brandt’s story. CSMF

¶ 130. Without consulting Landry, LaPlante called BOP Berlin’s human resources

department to obtain information about their hiring status. CSMF ¶ 131, 200. This

was the only time during LaPlante’s career that he independently called someone to

verify facts related to him by a job applicant. CSMF ¶ 201. The employee LaPlante

spoke with told him that no hiring freeze was in effect, and that even one had been

active, BOP Berlin was exempted because of a staffing shortage. CSMF ¶ 131.

LaPlante also asked the human resources employee about Brandt’s application to

work at BOP Berlin. LaPlante described the employee’s responses to those questions

as “evasive.” See CSMF ¶ 192.

      On March 12, 2014, LaPlante emailed Norman and Landry to relay his

suspicion that Brandt had lied during his interview with Norman and to recommend

that he not be rehired. CSMF ¶ 134. Following LaPlante’s email, Landry elected not

to rehire Brandt. CSMF ¶ 135. On March 24, 2014, Brandt filed an amended charge

with the MHRC to add retaliation allegations. CSMF ¶ 146.


                         PROCEDURAL BACKGROUND

      On November 16, 2015, the Plaintiff filed his initial Complaint in this action

pro se, asserting four counts against all Defendants: racial discrimination in violation


                                           8
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 9 of 26         PageID #: 1326




of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.; age

discrimination in violation of the Age Discrimination in Employment Act (“ADEA”),

29 U.S.C. § 621; retaliation for engaging in protected conduct under Title VII and the

ADEA; and violation of the Veterans Employment Opportunities Act of 1998, 5 U.S.C.

§ 3330a. (ECF No. 1.) In March of 2016, the Defendants moved to dismiss. Nash’s

Mot. to Dismiss (ECF No. 9); State Defs.’ Mot. to Dismiss (ECF No. 10). On April 19,

2016, Brandt moved to amend his Complaint to add a claim against all Defendants

for “racial discrimination in violation of 42 U.S.C. § 1983.” Mot. to Amend (ECF No.

15). On December 5, 2016, I granted in part and denied in part the motions to dismiss

and granted the Plaintiff’s motion for leave to amend. (ECF No. 28.)

      Brandt secured representation as of January 10, 2017, and the parties

proceeded to discovery. (ECF No. 33.) On March 2, 2018, the Defendants moved for

summary judgment on all remaining claims. Nash’s Mot. (ECF No. 87); State Defs.’

Mot. In his response to the summary judgment motions, the Plaintiff voluntarily

withdrew his age discrimination claims against all Defendants (Count II) and his

remaining claim against Nash (Count V). Pl.’s Resp. 3 n.3 (ECF No. 91). The Plaintiff

also stipulated that “only events occurring after April 12, 2013 . . . are actionable

against the Department and Defendant Landry.” Pl.’s Resp. 2. As the Plaintiff no

longer asserted any claims against Nash, I granted Nash’s motion for summary

judgment on May 24, 2018. Order (ECF No. 97). I likewise now GRANT without

objection the State Defendants’ motion for summary judgment on the Plaintiff’s age

discrimination claims.



                                          9
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 10 of 26          PageID #: 1327




                                LEGAL STANDARD

       Summary judgment is appropriate when there is no genuine dispute of

 material fact and the moving party is entitled to judgment as a matter of law. Fed.

 R. Civ. P. 56(a). A dispute is genuine where a reasonable jury could resolve the point

 in favor of either party. Oahn Nguyen Chung v. StudentCity.com, Inc., 854 F.3d 97,

 101 (1st Cir. 2017). A fact is material where it could influence the outcome of the

 litigation. Id. On a motion for summary judgment, courts must construe the record in

 the light most favorable to the non-movant and resolve all reasonable inferences in

 the non-movant’s favor. Burns v. Johnson, 829 F.3d 1, 8 (1st Cir. 2016). However,

 “neither conclusory allegations, improbable inferences, and unsupported speculation,

 nor brash conjecture coupled with earnest hope that something concrete will

 materialize, is sufficient to block summary judgment.” J. Geils Band Emp. Benefit

 Plan v. Smith Barney Shearson, Inc., 76 F.3d 1245, 1251 (1st Cir. 1996) (marks and

 citations omitted).


                                    DISCUSSION

       Landry and Fitzpatrick seek summary judgment on all remaining Counts. Still

 pending are the Plaintiff’s claims against the MDOC for racial discrimination under

 Title VII (Count I), against the MDOC for retaliation under Title VII (Count III), and

 against the MDOC and Landry for racial discrimination in violation of 42 U.S.C.

 § 1983 (Count V).




                                          10
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 11 of 26             PageID #: 1328




 I.    Title VII

       A.    Whether the MDOC Discriminated Against the Plaintiff Because
             of his Race

       To survive summary judgment on a Title VII employment discrimination

 claim, a plaintiff must show that he suffered an adverse employment action because

 of a protected characteristic. 42 U.S.C. § 2000e-2(a)(1). Where, as here, the plaintiff

 lacks direct evidence of discrimination, he may establish discriminatory intent either

 through the burden-shifting framework set out in McDonnell Douglas Corp. v. Green,

 411 U.S. 792 (1973), or through the mixed-motive framework established in Price

 Waterhouse v. Hopkins, 490 U.S. 228 (1989), and codified at 42 U.S.C. § 2000e-2(m).

       Through his briefing, the Plaintiff narrows the universe of alleged misconduct

 to events that occurred after April of 2013. Pl.’s Resp. 2. Accordingly, the Plaintiff’s

 asserted adverse employment actions are the MDOC’s failure to hire him as a

 probation officer during August of 2013 or as a probation officer assistant in

 December of 2013, and the MDOC’s failure to rehire him to any of the four positions

 for which he applied beginning in January of 2014.

       Although the Plaintiff’s employment discrimination argument is lean, he

 includes the language of both the McDonnell Douglas and mixed-motive theories of

 discrimination. Pl.’s Resp. 10 (arguing that “a reasonable jury could find . . . that race

 was a substantial motivating factor in the decision not to hire the plaintiff”); Pl.’s

 Resp. 10 (asserting that “the defendant’s proffered reason for the adverse

 employment action . . . is a pretext”). I will consider each theory in turn.




                                            11
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 12 of 26           PageID #: 1329




             1.   The McDonnell Douglas Framework

       At the first step of the McDonnell Douglas framework, the plaintiff must

 “establish, by a preponderance of the evidence, a prima facie case of discrimination.”

 Caraballo-Caraballo v. Corr. Admin., 892 F.3d 53, 57 (1st Cir. 2018). In this failure-

 to-hire action, the Plaintiff can surmount this low barrier by showing that: “(1) []he

 is a member of a protected class, (2) []he was qualified for the open position for which

 []he applied, (3) []he was rejected for that position, and (4) someone holding similar

 qualifications received the position instead.” Goncalves v. Plymouth Cty. Sheriff’s

 Dep’t, 659 F.3d 101, 105 (1st Cir. 2011). If the Plaintiff makes this showing, the

 MDOC must articulate a legitimate explanation for rejecting Brandt’s employment

 applications. Id. If the MDOC does so, the Plaintiff must show that the proffered

 explanation is pretextual and that the actual reason for the MDOC’s decision is

 discriminatory. Id. at 804. At this final stage, the Plaintiff “must demonstrate either

 that the adverse employment action was (1) ‘more likely motivated’ by discrimination

 than by the explanation proffered by the defendant; or (2) ‘the proffered explanation

 [was] unworthy of credence’ where the suspect action, coupled with evidence to the

 contrary, suggests a discriminatory motivation.” Aly v. Mohegan Council, Boy Scouts

 of Am., 711 F.3d 34, 46 (1st Cir. 2013) (quoting Tex. Dep’t of Cmty. Affairs v. Burdine,

 450 U.S. 248, 253 (1981)).

       The State Defendants argue that the Plaintiff has failed to present a prima

 facie case either related to his probation applications or related to his rehire

 applications. As to the rehire positions, the State Defendants are correct. The

 Plaintiff has offered no evidence regarding the disposition of those positions,
                                           12
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 13 of 26                     PageID #: 1330




 including whether they were filled by anyone at all or whether they were held open.

 In addition, while it may be possible to assume that the Plaintiff met the minimum

 qualifications for his previously-held position as a corrections officer, the Plaintiff has

 presented no evidence whatsoever that he was qualified for the other three rehire

 positions. The Plaintiff’s burden to make out a prima facie case is low, not

 nonexistent, and the McDonnell Douglas avenue is closed to the Plaintiff as to these

 hiring decisions.

        I turn to the Plaintiff’s probation applications. There is no dispute that the

 Plaintiff is a member of a protected class, that he met the MDOC’s minimum

 qualifications for the probation positions for which he applied, and that he applied to

 those positions. The MDOC contends, however, that the Plaintiff cannot make out a

 prima facie case because he had inferior qualifications to the successful applicants

 and therefore cannot be considered similarly qualified.

        The undisputed facts suggest that the Plaintiff, like the successful applicants,

 secured an interview only after the MDOC decided he was minimally qualified and,

 for his August 2013 probation officer application, after “mak[ing] the cut” on an

 ergometric test designed to assess whether he was a good candidate for the job. CSMF

 ¶¶ 27, 87-91. In addition, the Plaintiff offers some evidence that, contrary to the

 MDOC’s assessment, he possessed a similar skillset to the candidates who were hired.

 CSMF ¶ 150. Taking the facts in the light most favorable to the Plaintiff, I find that

 he has met the low burden of establishing his prima facie case. 5


 5      Goncalves v. Plymouth County Sheriff’s Department, 659 F.3d 101 (1st Cir. 2011), on which the
 State Defendants rely, is distinguishable. The Plaintiff in Goncalves admitted that she lacked even

                                                 13
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 14 of 26                         PageID #: 1331




        The MDOC’s asserted non-discriminatory explanation for its hiring decisions

 overlaps with its argument that the Plaintiff was not similarly situated to the

 successful candidates—namely, that the Plaintiff lacked experience and job

 knowledge that the other applicants possessed. This explanation satisfies the

 MDOC’s minimal burden to articulate a nondiscriminatory reason for rejecting the

 Plaintiff’s applications.

        Under the McDonnell Douglass framework, it falls to the Plaintiff to show that

 the MDOC’s explanation is pretextual. He has not done so. The Plaintiff offers no

 argument on pretext as it relates to the probation positions, effectively conceding the

 issue. The closest the Plaintiff comes to addressing this point is his factual

 representation that he was equally as qualified for the probation positions as the

 individuals who were hired. That is not enough. The undisputed facts are that (1)

 every member of both interview panels gave the Plaintiff a lower score than they gave

 the successful applicants, and (2) the Plaintiff failed to articulate to his interviewers

 that he had experience or training in either of two key competencies. Absent any other

 evidence that the individuals responsible for the probation hires acted out of racial

 animus—and the Plaintiff presents none—the only reasonable inference that may be

 drawn is that the Plaintiff’s applications were rejected because his interviewers




 the posted minimum qualifications for the position for which she applied. The individuals who were
 hired did not, leaving them differently qualified from the plaintiff. Here, the Plaintiff vigorously
 contests the MDOC’s characterization of his skillset and of his application materials, which he says
 show that he was as qualified for the probation positions as the people who were hired. Moreover,
 unlike in Goncalves, where the defendant put the plaintiff forward for an interview in spite of the fact
 that she was unqualified, here the State Defendants admit that the MDOC only offered interviews to
 applicants who met a position’s minimum qualifications. CSMF ¶¶ 25, 27, 87-91.


                                                   14
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 15 of 26                          PageID #: 1332




 believed he was not the best fit. 6 The Plaintiffs’ discrimination claims fail under the

 McDonnell Douglas framework.

               2.        Mixed-Motive Framework

         Under the mixed-motive framework, a plaintiff “need prove only that the

 discriminatory action was a motivating factor in an adverse employment decision.”

 Patten v. Wal-Mart Stores E., Inc., 300 F.3d 21, 25 (1st Cir. 2002). Once the plaintiff

 has done so, “the burden shifts to the employer to prove by a preponderance of the

 evidence that it would have made the same decision regardless of the impermissible

 consideration.” Diaz v. Jiten Hotel Mgmt., Inc., 671 F.3d 78, 82 (1st Cir. 2012). This

 second step represents a limited affirmative defense and does not absolve the

 defendant of liability, but rather restricts the remedies available to the plaintiff.

 Burns, 829 F.3d at 9 n.9.

         I again begin by considering the MDOC’s handling of the Plaintiff’s rehire

 applications. The Plaintiff insists that a reasonable jury could find that the MDOC’s

 decisions were, at least in part, the product of racial animus. The Plaintiff’s theory

 appears to be that, because of his race, the MDOC sought out any reason it could find

 not to rehire him. In support of this theory, the Plaintiff advances two lines of

 argument. First, the Plaintiff attempts to establish that while Landry was serving on

 MDOC panels that interviewed Brandt in 2012 and early 2013, his conduct suggested


 6       In their statement of facts, the parties reference the Plaintiff’s testimony that he found his
 September 2013 interview to be “hostile” because the panelists did not offer to shake his hand before
 he extended his, interrupted him, and had negative body language. CSMF ¶ 96. However, the Plaintiff
 never brings this point up in his briefing. More significantly, even in his deposition the Plaintiff did
 not connect this hostility to his race, instead asserting that the panelists’ behavior suggested they were
 wondering why he kept applying. CSMF ¶ 96.


                                                    15
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 16 of 26                      PageID #: 1333




 a race-based bias against the Plaintiff. The Plaintiff’s implication is that when

 Landry later chose not to rehire Brandt, that decision was a product of his bias. In

 support of this position, the Plaintiff points to Landry’s description of Brandt as being

 a “black and white” or “concrete” thinker, which the Plaintiff argues are racial

 stereotypes. Pl.’s Resp. 10. The Plaintiff also notes that during an interview in

 January 2013, Landry cut Brandt off in the middle of his answer to a question, and

 that one of the interviewers, all of whom were armed, escorted Brandt out of the area.

 Pl.’s Resp. 6.

        None of these facts create a plausible inference of racial animus. Even

 accepting that ascribing “black and white” thinking to someone can constitute racial

 stereotyping, that characterization does not hold here because the record reveals that

 Brandt introduced the term “black and white” to describe his own thinking. CSMF

 ¶¶ 173, 174. 7 As to Landry’s conduct during the January 2013 interview, the fact that

 Landry interrupted the Plaintiff, without more, does not indicate racial bias.

 Similarly, that Brandt’s interviewers remained armed during his interview and that

 one of them walked him out of the interview room sounds alarming, but the State

 Defendants point out that it was not unusual for the interviewers to be armed because

 all of them were on-duty law enforcement officers. More to the point, the Plaintiff has

 not presented evidence (for example, evidence that non-black applicants received a

 different welcome or left without escort) to connect that behavior to his race.




 7       Even the Plaintiff does not suggest that “black and white” referred to race, as opposed to an
 inability to perceive grey areas.


                                                  16
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 17 of 26          PageID #: 1334




        As his second avenue of argument, the Plaintiff claims that Landry displayed

 racial animus at the time of Brandt’s re-hiring applications when he rushed to accept

 bad information that branded the Plaintiff a liar. The Plaintiff avers, and the State

 Defendants do not dispute, that he was told by BOP Berlin that he could not begin

 work because of a hiring freeze. That is, it is undisputed that Brandt did not lie to

 anyone at the MCC. Referencing LaPlante’s telephone conversation with a BOP

 human resources employee, the Plaintiff asserts that “no reasonable person charged

 with hiring would rely on unsubstantiated hearsay from an anonymous ‘evasive’

 source outside the normal hiring channels to conclude a decorated veteran . . . was

 ‘lying’ about a hiring freeze.” Pl.’s Resp. 10.

        That an employer’s explanation for an employment decision is untrue can be

 evidence that the true reason was discrimination. Reeves v. Sanderson Plumbing

 Prod., Inc., 530 U.S. 133, 147 (2000). However, the First Circuit has found that, so

 long as the employer’s explanation does not itself evince discrimination, the proper

 focus is not on whether the employer’s assessment was accurate but on “whether the

 employer believed its stated reason to be credible.” Zapata-Matos v. Reckitt &

 Colman, Inc., 277 F.3d 40, 45 (1st Cir. 2002); Melendez v. Autogermana, Inc., 622 F.3d

 46, 53 (1st Cir. 2010) (insufficient evidence of discrimination where “the record

 support[ed] the conclusion that, at the time of [the plaintiff’s] dismissal, [the

 defendant] believed that [the plaintiff] was not meeting the company’s legitimate

 performance expectations”); see also Bennett v. Saint-Gobain Corp., 453 F. Supp. 2d

 314, 327 (D. Mass. 2006) (“Where, as here, the employer’s reason for termination is



                                             17
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 18 of 26                       PageID #: 1335




 based on the results of an investigation into alleged misconduct by the plaintiff, the

 inquiry is not whether the plaintiff’s version of events is true, but whether the

 decision-maker reasonably believed that the plaintiff had engaged in misconduct.”),

 aff’d, 507 F.3d 23 (1st Cir. 2007).

        Here, the Plaintiff fails to establish that Landry had any reason to suspect that

 the information LaPlante had given him was incorrect. When he emailed Landry to

 recommend against rehiring Brandt, LaPlante did not mention the fact that the BOP

 human resources staff member with whom he had spoken had been “evasive” about

 certain questions. LaPlante Email (ECF No. 82-4). And while LaPlante went “outside

 the normal hiring channels” to obtain his information, he told Landry that he had

 done so based on his belief that the BOP was not in a hiring freeze—an understanding

 that LaPlante reasonably sought to confirm. LaPlante Email. Under these facts,

 Landry could reasonably rely on LaPlante’s recommendation. The Plaintiff is left to

 argue that he had been a respected employee at the MCC and was a decorated veteran

 who had previously run high-profile protection details. See Pl.’s Resp. 10. The

 Plaintiff implies that his credentials suggested he was highly trustworthy, and that

 therefore Landry would not have taken LaPlante’s information at face value unless

 Landry was acting out of racial animus. While this point has some intuitive appeal,

 the Plaintiff does not support it with evidence. On the facts presented, a jury could

 not determine without speculating that Landry acted with discriminatory motive. 8


 8       I do not intend to imply that a plaintiff cannot possibly make out a claim based on implicit
 bias. “Title VII's prohibition against ‘disparate treatment because of race’ extends both to employer
 acts based on conscious racial animus and to employer decisions that are based on stereotyped thinking
 or other forms of less conscious bias.” Thomas v. Eastman Kodak Co., 183 F.3d 38, 42 (1st Cir. 1999).

                                                  18
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 19 of 26                          PageID #: 1336




         To the extent that the Plaintiff intends to proceed on a “cat’s paw” theory—

 that is, if he means to argue that the MDOC can be held liable for racial animus

 evidenced by LaPlante even though he did not make any final hiring decisions—that

 argument also fails. “To invoke the cat’s paw analysis, [a plaintiff] must submit

 evidence sufficient to establish two conditions: (1) that [the non-decisionmaker]

 exhibited discriminatory animus; and, (2) and the final decisionmakers . . . acted as

 the conduit of [that] prejudice.” Harlow v. Potter, 353 F. Supp. 2d 109, 115 (D. Me.

 2005). Here, the Plaintiff has not shown that race was a motivating factor in

 LaPlante’s actions. While the Plaintiff implies otherwise, LaPlante did not baselessly

 question Brandt’s motivations or veracity. The Plaintiff does not dispute that

 LaPlante had a preexisting understanding that BOP Berlin was not under a hiring

 freeze. CSMF ¶ 130. When LaPlante reached out to the BOP to get additional

 information, he spoke to a human resources employee, who he could reasonably

 expect to give accurate information regarding that organization’s ability to hire.

 CSMF ¶ 131. And while LaPlante described that employee’s responses to his

 questions about Brandt’s job application as “evasive,” LaPlante gave no such

 qualification of the employee’s response to his question about whether BOP was

 subject to a hiring freeze. LaPlante Dep. 9-10 (ECF No. 77-4). None of this suggests

 that LaPlante acted out of racial bias, and therefore no such motive may be imputed

 to the final decision not to hire the Plaintiff.




 I do find, however, that the Plaintiff in this case has failed to develop or to present evidence of such a
 situation.


                                                    19
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 20 of 26          PageID #: 1337




       The Plaintiff also asserts, without accompanying argument, that he was

 treated differently than other applicants for rehire at the MDOC. Pl.’s Resp. 7. The

 Plaintiff observes that the only other rehire candidate of which the State Defendants

 are aware, “John Doe,” was not subjected to a “background check” in the manner the

 Plaintiff was, and that LaPlante had not previously made external inquiries about

 any job candidate’s statements. Pl.’s Resp. 7, 9. Again, these facts do not suffice to

 establish discriminatory motive. While plaintiffs may rely on comparator evidence to

 support an inference of discrimination, the comparator must be similarly situated “in

 all relevant respects.” Ray v. Ropes & Gray LLP, 799 F.3d 99, 114 (1st Cir. 2015)

 (quoting Kosereis v. Rhode Island, 331 F.3d 207, 214 (1st Cir. 2003)). Here, the

 relevant similarities would include that the applicant offered the MDOC information

 that it had reason to suspect was false. Because the Plaintiff has not shown that the

 MDOC had any reason to believe that John Doe was untruthful during his interview,

 the comparison fails.

       Turning briefly to the probation positions: The Plaintiff presents neither

 argument nor evidence sufficient to suggest that the MDOC acted with mixed motives

 when it denied the Plaintiff’s applications for those jobs. In sum, on the evidence in

 the record, a reasonable jury could not conclude, without resorting to unfounded

 speculation, that the MDOC’s refusal to promote or to rehire Brandt “was more

 probably than not caused by discrimination.” Burns, 829 F.3d at 12. The State

 Defendants’ motion for summary judgment on the Plaintiff’s Title VII race

 discrimination claim is GRANTED.



                                          20
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 21 of 26                            PageID #: 1338




         B.    Whether the MDOC Retaliated against the Plaintiff for Engaging
               in Protected Conduct

         The Plaintiff also claims that the MDOC failed to rehire him in retaliation for

 his complaints of racial discrimination to Commissioner Ponte and to the MHRC. To

 establish that he was retaliated against in violation of Title VII 9 a plaintiff must show

 that “(1) []he engaged in protected conduct under [the statute]; (2) []he suffered an

 adverse employment action; and (3) the adverse action was causally connected to the

 protected activity.” Fantini v. Salem State Coll., 557 F.3d 22, 32 (1st Cir. 2009). Once

 the plaintiff makes out this prima facie case, the burden shifts to the defendant to

 articulate a legitimate, non-retaliatory explanation for its actions. Planadeball v.

 Wyndham Vacation Resorts, Inc., 793 F.3d 169, 175 (1st Cir. 2015). If the defendant

 does so, the plaintiff must show that the defendant’s explanation is a pretext for

 retaliation. Id. 10

         The parties dispute whether the Plaintiff has satisfied the causation prong of

 his prima facie case. The Plaintiff claims that the short lapse in time between his

 complaints and his rejected job applications is enough to show causation. The State

 Defendants disagree, arguing that the individuals responsible for those hires were

 not aware of the Plaintiff’s complaints until April of 2014 at the earliest, and that

 therefore their decisions cannot have been impacted by the Plaintiff’s complaints.



 9       As Brandt has dropped his claims for age-based discrimination and as Brandt has presented
 neither facts nor argument to suggest that he was retaliated against for engaging in protected conduct
 related to his age, I do not consider whether Brandt was subjected to retaliation under the ADEA.
 10      The mixed-motive framework has no application to retaliation claims: “[A] plaintiff making a
 retaliation claim . . . must establish that his or her protected activity was a but-for cause of the alleged
 adverse action by the employer.” Univ. of Texas Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2534 (2013).


                                                     21
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 22 of 26                    PageID #: 1339




        As the First Circuit has explained, “if a supervisor or other employee is

 unaware of the fact that a plaintiff engaged in protected conduct, any actions

 attributable to him could not plausibly have been induced by retaliatory motives.”

 Alvarado v. Donahoe, 687 F.3d 453, 459 (1st Cir. 2012). The only supervisors or

 employees about which the Plaintiff has presented any evidence are Nash, Landry,

 and LaPlante. I consider each separately.

        As to Nash, the Plaintiff admits that she was not made aware of his MHRC

 charge until this lawsuit was filed, and she therefore cannot have taken that

 complaint into account during the hiring process. And while the Plaintiff argues that

 Nash had reason to be aware of his April 2013, letter to Commissioner Ponte, he

 presents no evidence to contradict Nash’s testimony that she did not learn Brandt

 had authored the letter until 2017. See Nash Decl. ¶ 28 (ECF No. 85). LaPlante may

 likewise be set aside, as the Plaintiff presents no evidence to show that LaPlante was

 aware of either of Brandt’s complaints before April of 2014. CSMF ¶ 141. 11

        This leaves only Landry. Unrefuted evidence shows that Landry was not

 informed of Brandt’s MHRC charge until after the hiring decisions at issue. CSMF

 ¶ 138. 12 Landry has, however, testified that he was made aware that Brandt had




 11      Brandt seeks to combat this point by noting that “LaPlante was a broker of information in
 corrections circles who Landry relied upon.” CSMF ¶ 141. To the extent Brandt means to say that I
 may impute LaPlante’s knowledge to Landry and vise-versa, I decline to adopt that unsupported
 conclusion.
 12     The Plaintiff argues that because Landry was the Warden of the MCC, a reasonable jury could
 assume he was aware of the charge. But the Plaintiff cannot survive summary judgment by meeting
 evidence—here, the testimony of MDOC human resources manager Rhonda Hutchinson-Peaslee that
 Landry was neither informed of nor involved in responding to the MHRC charge, CSMF ¶ 137—with
 speculation. Alvarado v. Donahoe, 687 F.3d 453, 460 (1st Cir. 2012) (plaintiff’s assertion that his

                                                 22
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 23 of 26                         PageID #: 1340




 authored the earlier letter to Commissioner Ponte. The State Defendants claim that

 Landry never saw the letter and did not know it related a race discrimination

 complaint. Viewing the evidence in the light most favorable to the Plaintiff, I find

 that a reasonable jury could conclude, despite Landry and Nash’s protestations, that

 Landry learned through the conference call with Commissioner Ponte that the letter

 discussed racial discrimination. Given the letter’s plain discussion of racially biased

 hiring and Nash and Landry’s inability to remember the conference call’s precise

 content, it would be appropriate to allow a jury to assess the credibility of Nash and

 Landry’s testimony that Commissioner Ponte’s call addressed only the portion of

 Brandt’s letter that did not relate to discrimination.

         Regardless of Landry’s knowledge of the letter’s contents, the evidence of a

 causal connection between the letter and Landry’s decision not to rehire Brandt is

 negligible—likely fatally so. 13 However, because I ultimately find for the Defendants,

 I will assume that necessary link and proceed with the burden-shifting analysis.

         The MDOC asserts that Landry decided not to rehire Brandt based on

 LaPlante’s representation that Brandt had been dishonest about why he was seeking

 to return to the MCC. This satisfies the MDOC’s burden to proffer a legitimate basis




 supervisors “ ‘should have known’ about his protected conduct by virtue of their managerial status,”
 was “not only flimsy but fatally so”).
 13       The Plaintiff’s letter and Landry’s hiring decisions were separated in time by at least nine
 months—too long, standing alone, to allow an inference of retaliatory intent. See Clark Cty. Sch. Dist.
 v. Breeden, 532 U.S. 268, 273 (2001) (noting that temporal proximity must be “very close” and that
 periods of three and four months have been held insufficient); Morón-Barradas v. Dep’t of Educ. of
 Com. of Puerto Rico, 488 F.3d 472, 481 (1st Cir. 2007) (finding a lapse of “more than eight months . . .
 insufficient to establish temporal proximity”).


                                                   23
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 24 of 26                       PageID #: 1341




 for that hiring decision. Thus, the Plaintiff must show that the MDOC’s explanation

 is pretextual.

        The evidence does not support a finding of pretext. As discussed above, it is not

 enough for the Plaintiff to claim that the information LaPlante provided to Landry

 about the BOP hiring freeze was inaccurate, where there is no evidence that Landry

 had reason to disbelieve that information. 14 Having failed to establish that any

 MDOC decisionmaker took an adverse action against him because of his protected

 conduct, the Plaintiff cannot succeed on a claim for retaliation. The State Defendants’

 motion for summary judgment on the Plaintiff’s Title VII retaliation claim is

 GRANTED.

 II.    42 U.S.C. § 1983

        In Count V of his Amended Complaint, the Plaintiff asserts a claim against

 Landry and the MDOC for “racial discrimination” in violation of 42 U.S.C. § 1983.

 Am. Compl. ¶¶ 29-30. The Plaintiff’s allegations describe a claim under the Equal

 Protection Clause of the Fourteenth Amendment. See Am. Compl. ¶ 30 (alleging that

 “[t]he stated reasons for the Defendant’s conduct were not the true reasons, but

 instead were pretext to hide the Defendant’s discriminatory motives”).

        “To    prevail    on    a   claim     of   racial   discrimination       in   violation    of

 the Equal Protection Clause, a plaintiff must establish (1) that he was selected for

 adverse treatment compared with others similarly situated, and (2) that the selection


 14      The Plaintiff’s “cat’s paw” theory—i.e., that LaPlante’s retaliatory motive may be imputed to
 Landry, Pl.’s Resp. 14—fails because LaPlante was unaware of Brandt’s complaints and therefore
 cannot have acted in retaliation to those complaints. See Harlow v. Potter, 353 F. Supp. 2d 109, 115
 (D. Me. 2005).


                                                   24
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 25 of 26            PageID #: 1342




 for adverse treatment was based on his race.” Rios-Colon v. Toledo-Davila, 641 F.3d

 1, 4 (1st Cir. 2011). The First Circuit has recognized that the “analytical framework

 for proving discriminatory treatment . . . is equally applicable to constitutional and

 Title VII claims.” Lipsett v. Univ. of Puerto Rico, 864 F.2d 881, 896 (1st Cir. 1988). In

 either case, “the plaintiff must prove that the defendant[s] acted with discriminatory

 intent.” Rivera v. Puerto Rico Aqueduct & Sewers Auth., 331 F.3d 183, 192 (1st Cir.

 2003). In addition, “[s]ome evidence of actual disparate treatment is a threshold

 requirement of a valid equal protection claim.” Ayala–Sepúlveda v. Mun. of San

 Germán, 671 F.3d 24, 32 (1st Cir. 2012) (quotation marks omitted). Here, the Plaintiff

 bases his equal protection claim on the same facts as his Title VII claim for racial

 discrimination. Assuming arguendo that the Plaintiff is entitled to bring an equal

 protection claim against Landry, which the State Defendants contest, 15 that claim

 fails against him and against the MDOC for the same reasons outlined above.

       The Plaintiff further attempts to hold Landry and the MDOC liable under

 § 1983 for retaliation under the Equal Protection Clause or under the First

 Amendment. Pl.’s Resp. 3. Section 1983 does not create substantive rights, but rather

 provides a procedural mechanism for vindicating constitutional or statutory rights.

 Baker v. McCollan, 443 U.S. 137, 145 (1979). “Hence, it is [the] plaintiff[’s] burden to

 identify the particular underlying constitutional or statutory right that is sought to

 be enforced via judicial proceedings.” Bibiloni Del Valle v. Puerto Rico, 661 F. Supp.

 2d 155, 177-78 (D.P.R. 2009). The Plaintiff did not allege a § 1983 retaliation claim of


 15    See State Defs.’ Reply 4-5 (ECF No. 101).


                                                   25
Case 1:15-cv-00461-NT Document 102 Filed 01/16/19 Page 26 of 26                         PageID #: 1343




 any kind in his Amended Complaint and has not sought further amendment even

 after retaining counsel. As the time set for amendments by this court’s scheduling

 order has now expired, to further amend his complaint the Plaintiff would need to

 show good cause for the delay. Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir.

 2004). He has not done so, nor likely could he. Moreover, because the Defendants

 have moved for summary judgment, the Plaintiff would need to demonstrate that the

 additional amendments were supported by “substantial and convincing evidence.”

 Adorno v. Crowley Towing & Transp. Co., 443 F.3d 122, 126 (1st Cir. 2006). The

 Plaintiff has not made such a showing. Instead, as discussed above, the Plaintiff has

 failed to develop any evidence to show that Landry’s proffered reason for not hiring

 Brandt was pretextual. 16 The State Defendants’ motion for summary judgment on

 the Plaintiff’s constitutional claims is, accordingly, GRANTED.


                                          CONCLUSION

         For the reasons stated above, the Court GRANTS Defendants Fitzpatrick and

 Landry’s motion for summary judgment. The case is DISMISSED.


 SO ORDERED.

                                                        /s/ Nancy Torresen
                                                        United States District Judge

 Dated this 16th day of January, 2019.




 16    Because I find that the Plaintiff has failed to plead a § 1983 retaliation claim, I do not address
 whether Landry would be entitled to qualified immunity on such a claim. See State Defs.’ Reply 4, 6.


                                                   26
